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 brother Tamerlan, as well as others. A public Internet search indicates that Tamerlan also had a

 YouTube page, under his own name, containing several videos.

         48.    For example, on February 16, 2013, Tamerlan sent Dzhokhar an e-mail to his

 Yahoo! account that includes a message in a foreign language and a hyperlink to a YouTube

 video. The link leads to a video of an Arabic/English speaker dubbed in Russian. A rough

 translation of the title of the video is, "Umar al-Banna: I am sorry that the Ummah [Muslim

 world] is in decline."

        49.     On March 21, 2013, Tamerlan sent Dzhokhar an e-mail to his Yahoo! account

 that includes a hyperlink to another YouTube video. The link leads to a video of a foreign

 language speaker that is not dubbed. A rough translation of the Russian title of the video is,

"Another and another Muslim Kaffir [Infidel)!" The introduction of the video includes an

 introductory banner that reads "Imarat Kavkaz presents." Imarat Kavkaz, which roughly

translates to the Caucusus Emirate, is an entity that claims sovereignty over a region in the

Caucusus that includes Chechnya. The United States govenunent has designated this group as a

terrorist entity, namely, as an affiliate of Al Qa'ida.




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        52.     Google is a multi-faceted technology company that also provides e-mail services.

 According to the results of the Yahoo! warrant, confirmation messages in the Yahoo! account

 show that Dzhokhar established at least two e-mail accounts with Google: the account

 tsarljahar@gmail.com, which was established on or about March 11, 2013, the account

 jaharltsar@ gmail.com, which was establishe9 on February 4, 2013. Both of these accm.mts

 were established while Tamerlan and Dzhokhar were talcing steps in furtherance of their plan to

 engage in a terrorist bombing campaign. For example, during this period, Trunerlan traveled to

New H ampshire to buy low explosive powder and order electronic switching components over

 the Internet, and Dzhok.har rented 9mm handguns and purchased anununition so that he and

 Tamerlan could engage in target practice at a New Hampshire shooting range. According to

 records provided by Twitter, the tsarljahar@gmail.com account was the listed contact

 information for the user who established the Al_FirdausiA TwitteI handle (another Target

Account) on or about the same day, March 10, 2013. The Internet Protocol Address ("IP

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 Maister, the account was established in 2007, and in or about February 2013, Dzhokhar

 uploaded a self-made video clip to YouTube in which he can clearly be seen repeatedly telling

 his niece to get out of his room. A black flag containing the shahada written in white is visible

 on the wall of the room, which appears to be Dzhokhar' s former residence at 410 Norfolk Street,

 Apartment 3 in Cambridge, Massachusetts. A search of publicly available information on the

 YouTube website for straightborz yields the Jay Maister account as the responsive result.

 Dzhokhar used the Jay Maister account to indicate that he liked other videos, including an

 Arabic language nasheed (devotional song), videos on how to modify the security restrictions on

 the Apple iPhone, and at least two private videos. YouTube allows users to post private videos

 and engage in private messaging, i.e., to limit the exposure of videos and messages to selected

individual users rather than to all members of the public. According to Google, YouTube

integrates with another Google product, Google+ (plus), a social networking tool in which .

multiple Google services are consolidated and available to a user in a single place. According to

a public Internet search, the Jay Maister YouTube account has been linked in this manner with

the Google+ profile belonging to "Jay Maister", and the YouTube account is viewable on .Jay

Maister's Google+ page. According to an Internet search, the Jay Maister Google+.account is

linked to the Jay Maister/straightborz YouTube Account and is identified as account number

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                iii. Facebook Account: "Jahar Tsarnaev", User Id 1450312685

        57.    Facebook is a social networking site that provides a variety of services.

According to publicly availab le infonnation on the Internet, Dzhokhar maintained a Facebook

account under the name "J ah a r Tsarnaev," and there were photos that resemble Dzhokhar on

the site when the FBI searched the Internet   for info1mation about Dzhokhar on or about April 19,
2013.

        58.    According to records obtained from Facebook, the account with user name

"J ahar Tsarnaev" has a corresponding user identification number 1450312685 , and the listed

subscriber is Jahar Tsamaev. Moreover, Facebook records reveal that the e-mail address

associated with the Target Facebook Account is Dzhokhar's Yahoo! Account. IP records reveal

that the Target Facebook Account was accessed from IP addresses that were assigned at the time

to Dartmouth, Massachusetts and to Cambridge, Massachusetts, respectively. The user's profile

was deactivated b.y the user on April 1, 2013, two weeks prior to the Boston Marathon bombings.

According to Facebook, information from the account remains preserved.

        59.    According to information provided by Facebook, Dzhokhar posted pictures of

himself, Tamerlan, and others on the Target Facebook AccoW1t. I also know that Dzhok:har

posted updates about himself and Tamerlan, including Tamerlan's travel to Chechnya.

                               iv. Instagram Account: jmaisterl

        60.    During the course of this investigation, I have also learned that Dzhokhar

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 separatist material. For example, Dzhokhar used the "Like'' function on Instagram (commonly

 called "liked") to show suppo1t for several Chechen separatist images, including a photo of

 Shamil Basayev, one of the leaders of the Chechen rebel group that advocated violent jihad

 against the Russians. In addition, Dzhokhar also "liked" other pro-Chechen images which were

 referenced by organizational tags of"Free Chechnya", "Jihad,, and "Jannah". In one case, when

 another Instagram user posted a disparaging picture of Chechnya, Dzhokhar posted a reply that

 stated, "pull that stick out of your ass."




                           v. Twitter Accounts: Al FirdausiA and J tsar

        64.      A forensic review ofDzhokhar's laptop indicates that the computer was used to

 access the Twitter accounts Al_FirdausiA and J _tsar. As discussed above, Dzhokhar used

 Twitter accounts to engage in both private and public messaging. The public messages can be

 viewed by anyone on the Internet. A review of the public posts of the Target Twitter Accounts

 reveals that Dzhokhar used the accounts for different purposes. With the Al._FirdausiA account,

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investigation, some aspects of which are neither public nor known to all of the targets of the

investigation.



                                              ~c<fu--·
                                             Steven A . Kimball
                                             Special Agent
                                             Federal Bureau of Investigation




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